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     Federal Defender
 2   MARC DAYS, CA Bar #184098
     Assistant Federal Defenders
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 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   JORGE LUIS CARDEN-REYNA
 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                      )   NO. 1:11-CR-00017 LJO
11                                                  )
                           Plaintiff,               )   STIPULATION TO CONTINUE MOTIONS
12                                                  )   SCHEDULE AND HEARING; ORDER
            v.                                      )
13                                                  )   Date: August 19, 2011
     JORGE LUIS CARDEN-REYNA,                       )   Time: 10:30 AM
14                                                  )   Judge: Hon. Lawrence J. O’Neill
                           Defendant.               )
15                                                  )
                                                    )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
18   attorneys of record herein, that the motions hearing now set for July 8, 2011, may be continued to
19   August 19, 2011, at 10:30 A.M., and that a new motions schedule be set as follows:
20          Event:                          Present Date:                       Requested New Date:
21          Motions Due                     June 10, 2011                       July 22, 2011
            Responses Due                   July 1, 2011                        August 8, 2011
22          Hearing                         July 8, 2011 - 10:30 A.M.           August 19, 2011 - 10:30 A.M.
23          This continuance is requested by counsel for the defendant. Discovery in this matter is extensive.
24   Defense counsel has been preparing for, and been in, trial and needs additional time to complete review of
25   the discovery and prepare and file any appropriate motions on defendant’s behalf. The requested
26   continuance will conserve time and resources
27   ///
28   ///
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 1           The parties agree that the delay resulting from the continuance shall be excluded in the interests of
 2   justice, including but not limited to, the need for the period of time set forth herein for further defense
 3   preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B) in that the ends of justice will be served by a
 4   continuance.
 5                                                                    BENJAMIN B. WAGNER
                                                                      United States Attorney
 6
 7   DATED: June 24, 2011                                       By: /s/ Kathleen A. Servatius
                                                                   KATHLEEN A. SERVATIUS
 8                                                                 Assistant United States Attorney
                                                                   Attorney for Plaintiff
 9
10                                                                    DANIEL J. BRODERICK
                                                                      Federal Public Defender
11
12   DATED: June 24, 2011                                       By:     /s/ Marc Days
                                                                      MARC DAYS
13                                                                    Assistant Federal Defender
                                                                      Attorneys for Defendant
14                                                                    Jorge Luis Carden-Reyna
15
16                                                     ORDER
17           IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.
18   §§ 3161(h)(7)(A) and (B).
19           IT IS SO ORDERED.
20   Dated:      June 29, 2011                         /s/ Lawrence J. O'Neill
     66h44d                                        UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Motions Schedule
     and Hearing; [Proposed] Order                          2
